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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:24-cv-20112-KMM

  HUGO BOSS TRADE MARK
  MANAGEMENT GMBH & CO. KG,

         Plaintiff,
  v.

  THE INDIVIDUALS, CORPORATIONS,
  LIMITED LIABILITY COMPANIES,
  PARTNERSHIPS, AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED
  ON SCHEDULE A TO THE COMPLAINT,
        Defendants.
  ____________________________________________/

            PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF ACTION

         TO THE COURT AND ALL INTERESTED PARTIES:

         PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), Plaintiff

  HUGO BOSS TRADE MARK MANAGEMENT GMBH & CO. KG, gives notice that the

  above-captioned action is voluntarily dismissed without prejudice.

  Dated: February 5, 2024                            Respectfully submitted,

                                                     By: /s/ Rossana Baeza
                                                     Rossana Baeza (Bar No. 1007668)
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                                                     Counsel for Plaintiff Hugo Boss Trade Mark
                                                     Management GmbH & Co. KG




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